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                                                 ORDERED.


             Dated: April 13, 2017




                                     UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                             ORLANDO DIVISION
                                                 www.flmb.uscourts.gov



IN RE:                                                                   Case No:       6:16-bk-05281-ABB

        JUAN C CASTILLOVEITIA

                                                                         Chapter 13
                                                   Debtor



                                          ORDER CONFIRMING PLAN


        THIS CASE came on for a hearing on April 12, 2017 following the transmittal of Debtor's Chapter 13 plan (the

“Plan,” Docket No. 36 reference to which shall include any subsequent amendment made by prior order, in open court

during the hearing, or in this Order) to all parties in interest. Any amendment to the Plan made by Debtor or the Chapter

13 Trustee at confirmation is incorporated in this Order. The Court finds that the Plan complies with all applicable

provisions of the Bankruptcy Code.

        Accordingly, it is

        ORDERED:

        1.      The Plan is confirmed as set forth in this Order. If there is a discrepancy between the Plan and this
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Order, this Order controls and supersedes the Plan.

        2.      Payments by Debtor as set forth in the attached Exhibit “A,” incorporated by reference, shall be made

each month by Trustee-approved electronic transfer, money order or cashier’s check for 60 consecutive months

commencing on September 08, 2016 to the Chapter 13 Standing Trustee, Laurie K. Weatherford, P.O. Box 1103,

Memphis, TN 38101-1103. If Trustee has insufficient monies to make distribution under this Order, or any other

Court order, the payments may be adjusted during the life of the Plan without further order of this Court.

        3.      Debtor is prohibited from incurring any non-ordinary course post-confirmation debt during the term of

this Plan without prior approval of the Court or the Trustee.

        4.      All claims, including Debtor’s attorney’s fees, are allowed or disallowed as set forth in Exhibit “A”

attached hereto and by reference made a part hereof. Any party in interest may, within 21 days of the date of this

Order, request the Court to examine the fees to be paid to Debtor’s attorney.

        5.      The Trustee will collect from each payment received his/her percentage fee, which percentage fee is

fixed periodically by the United States Trustee. If the Trustee’s actual fee is less than provided for in the Plan, any

unused portion of the fee may fund the Plan or to increase the distribution to unsecured creditors.

        6.      Distributions by the Trustee may commence and continue monthly to pay allowed claims on attached

Exhibit “A” or as subsequently provided for in an amended Exhibit “A” or Court order. The Trustee may disburse

partial payments based on the availability of funds. The Trustee may distribute partial Plan payments to creditors in their

order of priority based upon the availability of funds.

        7.      The procedure for treatment of mortgage payment changes and escrow account adjustments during the

life of the Plan shall be governed by Rule 3002.1(b).

        8.      If a Notice of Payment Change is filed and served, the Trustee may take the following action:



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                (a)     If the new payment is less than the current payment, the Trustee may reduce the payment to the

creditor under the notice and apply the difference to increase the distribution to unsecured creditors; or

                (b)     If the new payment is greater than the current payment, the Trustee may compute the additional

sum Debtor must pay and notify Debtor and Debtor’s attorney of the new monthly payment amount. The payment to

the creditor will be adjusted accordingly.

        The foregoing provisions are a modification to the Plan, which is deemed requested by the Trustee as provided

in Section 1329. Notice and hearing are waived because no creditor will be adversely affected by such change.

        9.      Provisions for both prepetition and postpetition arrearages, if any, on allowed secured claims are

included in the Plan. After the completion of all payments under the Plan and the entry of a discharge of Debtor, the

delinquencies on mortgages and security interests related to such claims will be deemed cured and their contractual

maturities reinstated. Any postpetition costs or expenses incurred by or on behalf of any secured creditor will be

discharged upon completing the Plan, unless specifically provided for in this Order, or allowed pursuant a notice

provided under Rule 3002.1(c) before completing Plan payments.

        10.     The automatic stay was terminated in rem as to Debtor and in rem and in personam as to any

codebtor as to any secured creditor or lessor for which the Plan provided (a) for the surrender of collateral or leased

property to the secured creditor or lessor, or (b) for Debtor to make payments directly to the secured creditor or

lessor, (c) that Debtor does not intend to make payments while preserving state law contract rights and defenses, or (d)

for which no provision was made in the Plan. The automatic stay is terminated in rem as to Debtor and in rem and in

personam as to any codebtor as to any secured creditor or lessor not provided for in this Order.

        11.     The holders of allowed secured claims provided for in the Plan shall retain the lien securing such claim

until the earlier of the payment of the underlying debt determined under non-bankruptcy law or discharge under Section



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1328. If the case is dismissed or converted without completion of the Plan, such lien shall also be retained by such

holder to the extent recognized by applicable non-bankruptcy law.

        12.      If the bar date to file proofs of claim has not yet expired, Debtor shall have 28 days following the

expiration of the claims bar date to object to any filed claim which has not already been provided for in this Order.

        13.      Any claim or amended claim filed after the claims bar date, other than a claim filed by Debtor or the

Trustee under Rule 3004, shall be disallowed and receive no distribution unless an order is entered allowing such

untimely filed claim or is provided for in Exhibit “A” of this Order.

        14.      If any timely filed claim is not already provided for in this Order, Debtor (through counsel, if any) shall

timely file an appropriate motion to modify the confirmed Plan and any objection to claims or motions to value claims.

The Trustee shall review the claims register after all bar dates have passed and may file a motion to dismiss if Debtor

fails to timely take appropriate action to address all filed claims.

        15.      The Trustee shall hold all funds payable to general unsecured creditors for at least 30 days after the bar

date for filing claims has passed, and the Trustee may continue to hold all such funds until all objections to claims have

been resolved.

        16.      If Debtor files a notice of conversion of this case to a Chapter 7 or the Court orders the conversion of

this case to a Chapter 11 or the dismissal of this case, any undistributed funds in the Trustee’s possession on the date of

conversion or dismissal shall be payable to Debtor and, if Debtor is represented by counsel, mailed to Debtor in care of

Debtor’s attorney.

        17.      Unless otherwise provided for in this Order or any other order of this Court, Debtor is responsible for

paying all postpetition ongoing homeowners’ assessments, homeowners’ dues, and property taxes that are related to

real property being retained by Debtor under the Plan, and the automatic stay shall not apply to these postpetition



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claims.

          18.    Debtor is responsible for paying any domestic support obligation that first becomes payable after

the petition date.

          19.    Any objections to confirmation of the Plan are deemed withdrawn and/or overruled by entry of

this Order.

          20.    Upon completion of all payments under the Plan, Debtor shall promptly file a declaration under penalty

of perjury or affidavit that (a) lists all domestic support obligations and whether such obligations are current or file a

certificate stating that Debtor is not required to pay a domestic support obligation, and (b) states that § 522(q)(l) is not

applicable and that no proceeding is pending in which Debtor could be found guilty of an offense listed in § 522(q)(l) or

liable for a debt of the kind listed in § 522(q)(1)(B).

          21.    Debtor shall complete the personal financial management course required by §1328(g)(1) and file a

completion certificate within 90 days of the entry of this Order.

          22.    The Court will withhold entry of a discharge until Debtor complies with Paragraphs 20 and 21.

          23.    This case is not subject to § 521(i)(l).

          24.    During the pendency of the Chapter 13 case, Debtor shall timely file all tax returns and make all tax

payments and deposits when due. (However, if Debtor is not required to file tax returns, Debtor shall provide Trustee

with a statement to that effect.) For each tax return that becomes due after the case is filed, Debtor shall, within 14 days

of filing the return, provide the Trustee with a complete copy of the tax return, including business returns if Debtor owns

a business, together with all relatedW-2s and Form 1099s.

          25.    Unless otherwise consented to by the Trustee or ordered by the Court, Debtor shall turn over to the

Trustee all tax refunds in addition to regular Plan payments for distribution to allowed general unsecured creditors.


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Debtor shall not instruct the Internal Revenue Service or other taxing agency to apply a refund to the following year’s

tax liability. Debtor shall spend no tax refunds without first having obtained the Trustee's consent or court

approval.

        26.     Any discharge entered in this case shall not discharge Debtor’s liability on a federally guaranteed student

loan unless the Court specifically finds that repayment of the debt would cause an undue hardship to Debtor or Debtor’s

dependents under § 523(a)(8).

        27.     To the extent this Order contains any modified term or condition not timely noticed to the parties, any

party may seek reconsideration of this Order within 14 days of its entry by separate motion.

        28.     Debtor is under a continuing duty to disclose any changes in financial circumstances and new assets or

potential rights to assets that Debtor acquires post-petition by promptly filing amended schedules with the Court. Any

failure to disclose changes in financial circumstances or assets by filing amended schedules may result in dismissal of the

case or denial of Debtor’s discharge.

        29.     If a claim is withdrawn by a creditor or the creditor files a satisfaction of the debt or claim, the Trustee,

at the Trustee’s discretion, may elect to seek recovery of funds already disbursed or to take no action regarding funds

already disbursed to that creditor. The Trustee also may discontinue any further disbursements if a claim is withdrawn by

a creditor. Any disbursements made under this Order on account of a claim that is subsequently withdrawn or for which

the Trustee receives a satisfaction of claim are deemed authorized disbursements, and the Trustee shall have no liability

for these disbursements.




Trustee Laurie K. Weatherford is directed to serve a copy of this order on interested parties and file a proof of
service within 3 days of entry of the order.




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                                                APPENDIX

                                                State Taxes

                                   Sales Taxes and Unemployment Taxes.

                                       Mail reports and payments to:

                                    State of Florida - Department of Revenue
                          Office of General Counsel/Bankruptcy Section P.O. Box 6668
                                          Tallahassee, FL 32314-6668

                                               Federal Taxes

 Federal tax deposits of social security taxes (employer and employee shares) and withholding taxes are to
be made within three banking days after each payroll is made . Deposits are to be made in a Federal Reserve
Bank or a commercial bank authorized to accept federal tax deposits. Deposits are to be made by cashier’s
or certified check and be accompanied by Form 8109, Federal Tax Deposit Withheld Income and FICA
Taxes. If Form 8109 is not available, deposits are to be mailed within the time prescribed or deposits to the
address indicated below. If you pay amounts with Form 941 that should have been deposited, you may be
subject to penalty. See Deposit Penalties in Section 11 of Pub. 15 (Circular E).

 Mail original returns prepetition (prior to confirmation) to the appropriate district office listed below
according to the county listed in the bankruptcy petition as Debtor’s residence or place of operating
business.

      If any taxes are due on the prepetition returns, they should be included in the Plan (paid through the
Trustee) and the IRS should be noticed at the Philadelphia address regarding the bankruptcy

Jacksonville District                              Ft. Lauderdale District
Internal Revenue Service                            Internal Revenue Service
Attn: Insolvency, Stop 5720                        Attn: Insolvency, Stop 5730
400 W. Bay Street, Suite 35045                     P.O. Box 17167
Jacksonville, FL 32202                             Ft. Lauderdale, FL 33318

Mailing of original returns postpetition (after confirmation) and/or payments for those returns should be sent
to the regularly scheduled address as listed by the IRS on your filing information.




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                                                              Exhibit "A"


Claim                                         Claim                           Claim         Claim                      Monthly
Nbr.                                          Type                           Amount        Allowed     Notes           Payments
AT      Alejandro Rivera                     Attorney Fee                     $2,350.00    $2,350.00
                                                                                                               01-15/      $150.00
                                                                                                               16-16/      $100.00
001     Mccoy Federal Credit Union           Secured By Vehicle               $3,724.29       $0.00    ( 1)
002     Internal Revenue Service             Priority                         $5,379.42    $5,896.53   ( 2)
                                                                                                               01-18/        $0.00
                                                                                                               19-19/       $51.41
                                                                                                               20-26/       $61.88
                                                                                                               27-34/      $101.88
                                                                                                               35-47/      $232.85
                                                                                                               48-48/      $225.52
                                                                                                               49-53/      $265.84
                                                                                                               54-54/       $15.15
003     Lendmark Financial Services, Llc     Secured By Vehicle               $3,128.23    $4,452.98   ( 3)
                                                                                                            01-01/         $269.33
                                                                                                            02-07/         $107.91
                                                                                                            08-34/         $130.97
004     Cypress Shadows Homeowners' Association
                                        General Unsecured                    $17,353.87   $17,353.87   ( 4) 1-60/         Pro Rata
005     Midland Credit Management, Inc.      General Unsecured                 $879.82      $879.82            1-60/      Pro Rata
006     Midland Credit Management, Inc.      General Unsecured                 $842.13      $842.13            1-60/      Pro Rata
007     Army & Air Force Exchange Services General Unsecured                  $2,780.58    $2,780.58           1-60/      Pro Rata
008     Ocwen Loan Servicing, Llc            Ongoing Mortgage               $185,293.69       $0.00    ( 5)
                                                                                                               01-05/      $702.45
                                                                                                               06-60/      $707.87
009     State Of Florida - Department Of Revenue
                                             Priority                         $1,334.23    $1,994.32   ( 6)
                                                                                                               01-16/        $0.00
                                                                                                               17-18/       $91.88
                                                                                                               19-19/       $40.47
                                                                                                               20-53/       $30.00
                                                                                                               54-54/      $290.36
                                                                                                               55-55/      $305.53
                                                                                                               56-56/      $154.20
103     Lendmark Financial Services, Llc     Other Arrears                     $130.97      $130.97
                                                                                                               01-01/      $130.97
108     Ocwen Loan Servicing, Llc            Mortgage Arrears                 $1,221.27    $1,221.27
                                                                                                               01-01/      $241.25
                                                                                                               02-05/        $9.10
                                                                                                               06-07/        $3.68


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                                                                                                     08-15/   $24.56
                                                                                                     16-16/   $74.56
                                                                                                     17-47/   $20.68
                                                                                                     48-48/   $24.14
208   Ocwen Loan Servicing, Llc     Gap Pay                   $707.87               $707.87   ( 7)
                                                                                                     01-16/    $0.00
                                                                                                     17-47/   $22.00
                                                                                                     48-48/   $25.87
308   Ocwen Loan Servicing, Llc     Secured                   $400.00               $400.00   ( 8)
                                                                                                     01-16/    $0.00
                                                                                                     17-26/   $40.00


Note ( 1)      COLLATERAL FOR THIS CLAIM HAS BEEN SURRENDERED.

Note ( 2)      CLAIM HAS BEEN AMORTIZED TO BE PAID WITH 4% INTEREST PER ANNUM IN ORDER TO
               PROVIDE FOR THE PAYMENT OF CLAIM PLUS INTEREST AND PENALTIES THAT MAY BE
               ASSESSED DURING THE PLAN TERM.
Note ( 3)      PURSUANT TO PROMISSARY NOTE ANDS SECURITY AGREEMENT, THIS CLAIM IS BEING PAID IN
               FULL.
Note ( 4)      CLAIM FILED AS A SECURED CLAIM IN THE AMOUNT OF $17,353.87. PURSUANT TO ORDER
               GRANTING MOTION TO VALUE COLLATERAL FILED ON 4/6/2017, CLAIM ALLOWED AS A GENERAL
               UNSECURED CLAIM IN THE AMOUNT OF $17,353.87.
Note ( 5)      PRINCIPAL DUE AMOUNT PURSUANT TO FILING OF PROOF OF CLAIM IS $185,293.69.

Note ( 6)      CLAIM HAS BEEN AMORTIZED TO BE PAID WITH 18% INTEREST PER ANNUM IN ORDER TO
               PROVIDE FOR THE PAYMENT OF CLAIM PLUS INTEREST AND PENALTIES THAT MAY BE
               ASSESSED DURING THE PLAN TERM.
Note ( 7)      THIS CLAIM REPRESENTS ONE GAP PAYMENT.

Note ( 8)      THIS CLAIM REPRESENTS POSTPETITION MORTGAGE FEES, EXPENSES, AND CHARGES.


                                        Debtor Payments to the Trustee
                                   Months                               Amount
                                   1-1                                  $1,660.00
                                   2-7                                  $1,077.18
                                   8-60                                 $1,126.00




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NOTICE TO ALL CREDITORS LISTED ABOVE: In an effort to disburse all funds held by the trustee on a monthly basis, it is possible
that you may on occasion receive partial payment. However, the Claim Allowed by this Court will be paid in full by the end of the
debtor's Plan. All undesignated funds will be distributed to unsecured creditors with timely filed proofs of claim.

THE TRUSTEE SHALL PROVIDE TO THE COURT an amended confirmation order after all unsecured claim issues are resolved, if
necessary. There will be no distribution to unsecured creditors listed on Exhibit A, attached hereto, for 90 days following the date of
this Order.

IF MORTGAGE MEDIATION HAS BEEN ORDERED, the debtor and the creditor are directed to comply with the terms of the mortgage
mediation modification order. The Trustee is authorized to disburse to the mediator the mediation fee upon the mediator filing a notice




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